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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SAM RISE, e¢ al.,
Plaintiffs,

V. Case No. 1:24-cv-2388-RCL

JASON BAGSHAW, et al.,

Defendants.

ORDER

Upon consideration of the defendants’ Motion to Dismiss the plaintiffs’ claims against the
federal defendants (named and unnamed officers of the U.S. Capitol Police) in their official
capacities [ECF No. 35], the defendants’ Motion to Dismiss the plaintiffs’ claims against the
federal defendants in their individual capacities [ECF No. 46], the responses, replies, and surreply
thereto, and the entire record herein, and for the reasons contained in the accompanying
Memorandum Opinion, it is hereby

ORDERED that the Motion to Dismiss the plaintiffs’ official capacity claims against the
federal defendants is DENIED AS MOOT; and it is further

ORDERED that the Motion to Dismiss the plaintiffs’ individual capacity claims against
the federal defendants is GRANTED; and it is further

ORDERED that, within 30 days of this Order’s issuance, the plaintiffs shall provide the
Court with a list of the federal defendants’ names, to the extent that they are known to the plaintiffs,

so that the Court may ensure that they are properly dismissed as defendants in this dispute.

Date: May /3 , 2025 “Crest has

Royce C. Lamberth
United States District Judge
